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 1   Todd M. Friedman (SBN 216752)
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     Attorneys for Plaintiff
 8

 9
                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA
10

11                                               ) Case No. 1:18-cv-01602-AWI-EPG
      MARTIN STARACE, individually and )
12
      on behalf of all others similarly situated,)
13                                               )
      Plaintiff,                                 ) NOTICE OF SETTLEMENT AS
14
                                                 ) TO INDIVIDUAL CLAIMS ONLY
15           vs.                                 )
16                                               )
      FIFTH THIRD BANK and DOES 1-10,)
17
                                                 )
18    Defendant.                                 )
19
                                                 )

20         NOW COMES THE PLAINTIFF by and through their attorney to
21   respectfully notify this Honorable Court that this case has settled individually.
22   Plaintiff request that this Honorable Court vacate all pending hearing dates and
23   allow sixty (60) days with which to file dispositive documentation. Dispositional
24   documents will be forthcoming. This Court shall retain jurisdiction over this
25
     matter until fully resolved.
26
     Dated: January 18, 2019                 Law Offices of Todd M. Friedman, P.C.
27

28                                                           By: s/ Todd M. Friedman
                                                                   Todd M. Friedman


                                      Notice of Settlement
           Case 1:18-cv-01602-AWI-EPG Document 7 Filed 01/18/19 Page 2 of 2


 1
                              CERTIFICATE OF SERVICE
 2

 3   Filed electronically on this 18th Day of January, 2019, with:
 4
     United States District Court CM/ECF system
 5

 6
     Notification sent electronically on this 18th Day of January, 2019, to:

 7   To the Honorable Court, all parties and their Counsel of Record
 8

 9
     s/Todd M. Friedman
10    Todd M. Friedman
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                                        Notice of Settlement
